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            IN THE UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF GEORGIA
                     ATLANTA DIVISION


 L. LIN WOOD, JR.,

      Plaintiff,
                                        CIVIL ACTION FILE
 v.
                                        NO. 1:21-cv-1169-TCB
 PAULA J. FREDERICK, et al.,

      Defendants.


                               ORDER

I.    Background

      Plaintiff L. Lin Wood, Jr. is a lawyer and a member of the State

Bar of Georgia. On February 11, 2021, the State Bar sent Wood a notice

of investigation of a grievance against him. The State Bar sent Wood

written correspondence requesting that, a part of the investigation, he

consent to a confidential evaluation by a mental health professional.

      On March 23, Wood filed this action against Defendants, all

members or otherwise affiliated with the State Bar of Georgia, and

most of whom are members of the State Bar’s State Disciplinary Board.
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He seeks—in relevant part—an injunction enjoining Defendants from

“requir[ing] him to undergo a medical, mental, psychiatric, or

psychological examination[;]” a declaration that Defendants’ alleged

“actions in requiring the Plaintiff to consent to a medical, mental,

psychiatric or psychological examination to be a violation of his

constitutional rights[;]” and compensatory damages “in excess of

$75,000.” [1] at 37–38.

     Wood filed a motion [26] to disqualify and a motion [27] for a

preliminary injunction. Defendants then filed a motion [34] to dismiss.

The Court set the motion to dismiss and motion for a preliminary

injunction for a hearing, then denied Wood’s motion to disqualify.

Before the hearing was held, Wood appealed the motion to disqualify.

The Court then granted Wood’s motion to stay.

     On June 8, the Eleventh Circuit denied Wood’s petition for a writ

of mandamus and stated that no further action would be taken. The

motion to dismiss is therefore ripe for review.




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II.   Legal Standard

      Federal Rule of Civil Procedure 8(a)(2) requires that a complaint

provide “a short and plain statement of the claim showing that the

pleader is entitled to relief[.]” This pleading standard does not require

“detailed factual allegations,” but it does demand “more than an

unadorned, the-defendant-unlawfully-harmed-me accusation.”

Chaparro v. Carnival Corp., 693 F.3d 1333, 1337 (11th Cir. 2012)

(quoting Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)).

      Under Rule 12(b)(6), a plaintiff must plead “enough facts to state a

claim to relief that is plausible on its face.” Bell Atl. Corp. v. Twombly,

550 U.S. 544, 570 (2007); Chandler v. Sec’y of Fla. Dep’t of Transp., 695

F.3d 1194, 1199 (11th Cir. 2012) (quoting id.). The Supreme Court has

explained this standard as follows:

      A claim has facial plausibility when the plaintiff pleads
      factual content that allows the court to draw the reasonable
      inference that the defendant is liable for the misconduct
      alleged. The plausibility standard is not akin to a
      “probability requirement,” but it asks for more than a sheer
      possibility that a defendant has acted unlawfully.




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Iqbal, 556 U.S. at 678 (citation omitted) (quoting Twombly, 550 U.S. at

556); see also Resnick v. AvMed, Inc., 693 F.3d 1317, 1324–25 (11th Cir.

2012).

     Thus, a claim will survive a motion to dismiss only if the factual

allegations in the complaint are “enough to raise a right to relief above

the speculative level . . . .” Twombly, 550 U.S. at 555–56 (citations

omitted). “[A] formulaic recitation of the elements of a cause of action

will not do.” Id. at 555 (citation omitted). While all well-pleaded facts

must be accepted as true and construed in the light most favorable to

the plaintiff, Powell v. Thomas, 643 F.3d 1300, 1302 (11th Cir. 2011),

the Court need not accept as true the plaintiff’s legal conclusions,

including those couched as factual allegations, Iqbal, 556 U.S. at 678.

Thus, evaluation of a motion to dismiss requires two steps: (1) eliminate

any allegations in the pleading that are merely legal conclusions, and

(2) where there are well-pleaded factual allegations, “assume their

veracity and then determine whether they plausibly give rise to an

entitlement to relief.” Iqbal, 556 U.S. at 679.




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III. Discussion

     Defendants contend that this action should be dismissed pursuant

to Younger v. Harris, 401 U.S. 37 (1971). In Younger, the Supreme

Court noted that—with few exceptions—state courts should be free to

try state cases without interference from the federal courts. Attorney

disciplinary matters are the types of proceedings that give rise to

Younger abstention. Middlesex Cnty. Ethics Comm. v. Garden State Bar

Ass’n, 457 U.S. 423 (1982). Thus, the Court should abstain from hearing

Wood’s action if (1) state proceedings are currently pending; (2) the

proceedings involve an important state interest; and (3) the state

proceedings will provide Wood with an adequate opportunity to raise

his constitutional claims. See id. at 432. Because Wood appears to

concede the second factor, the Court’s analysis will focus on the first

and third.

     Clearly, there is a grievance proceeding in the State Bar against

Wood. Wood argues that because he filed this action before there was a

finding of probable cause against him, this factor is not satisfied.

However, he cites no law to support his contention that a probable

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cause finding is required for abstention or that abstention is not

required during an investigatory phase of a proceeding. In fact, both

law and logic dictate that abstention is appropriate during the

investigatory phase. See, e.g., Parker v. Jud. Inquiry Comm’n of the

State of Ala., 212 F. Supp. 3d 1171, 1179–82 (M.D. Ala. 2016).

     Wood also argues that the first factor is not satisfied because he

does not seek to enjoin the state disciplinary proceedings against him.

However, his claim would effectively enjoin those proceedings, meaning

that the Younger doctrine applies. See Old Republic Union Ins. Co. v.

Tillis Trucking Co., 124 F.3d 1258, 1261–62 (11th Cir. 1997); see also

Henry v. Fla. Bar, 701 F. App’x 878, 882 (11th Cir. 2017) (“The first

factor is met when a state proceeding is ongoing and the relief sought by

the plaintiff would interfere with the state proceeding. The plaintiff’s

requested relief can interfere with the state proceeding if it would

disrupt the normal course of action in the state proceeding, even if the

relief sought would not terminate an ongoing proceeding.” (citations

omitted)).




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      With respect to the third factor, Wood argues that there is no

opportunity in a state forum for him to raise his constitutional concerns.

However, Georgia Bar Rule 4-218 provides that he will have an

opportunity to raise these concerns if probable cause is found and his

disciplinary matter proceeds to public proceedings.1

      Nor is the Court persuaded by Wood’s argument that the bad-faith

exception to Younger applies here. A proceeding is initiated in bad faith

if it is brought without a reasonable expectation of obtaining a valid

conviction. Redner v. Citrus Cnty., 919 F.2d 646, 650 (11th Cir. 1990).

Wood bears the burden with respect to this exception. Juidice v. Vail,

430 U.S. 327, 338 (1977). The bad faith exception requires a substantial

allegation that shows actual bad faith. See Younger, 401 U.S. at 48.

When a state bar has “ample evidence” of conduct warranting a

proceeding before initiating a proceeding, that exception does not apply.




      1 Berry v. Schmitt, 688 F.3d 290 (6th Cir. 2012), on which Wood relies, is
distinguishable. The relief sought would not have stopped ongoing state court
proceedings and was decided based on Rooker-Feldman, not Younger abstention.
And the Georgia Supreme Court’s recent order denying Wood’s request for a stay
does not mean that court was denying it has jurisdiction over disciplinary matters.
That order merely denied the particular relief Wood sought.

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Chestnut v. Canady, No. 20-12000, 2021 WL 1661215, at *3 (11th Cir.

Apr. 28, 2021). The Court concludes that Wood has not made a

substantial allegation of bad faith that would overcome Younger

abstention.

     Wood’s argument that he did not receive due process before the

request for a mental health examination does not overcome Younger

abstention. He cites no law to support the proposition that he has a

property right not to be asked to consent to a mental health evaluation.

And, as Defendants point out, he has been provided a notice of the

claims against him and will have an opportunity to defend himself and

raise any constitutional issues before any public discipline is imposed.

     Any argument of a “chilling effect” on First Amendment rights

does not suffice to overcome Younger abstention. Butler v. Ala. Jud.

Inquiry Comm'n, 245 F.3d 1257, 1265 (11th Cir. 2001). And the fact

that Wood disputes the allegations against him does not overcome

Younger abstention. Thompson v. Fla. Bar, 526 F. Supp. 2d 1264, 1278

(S.D. Fla. 2007) (citing Crenshaw v. Sup. Ct. of Ind., 170 F.3d 725, 729

(7th Cir. 1999)).

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      The Court is therefore required under Younger to abstain from

hearing Wood’s claims.

      Even if it were not, the Court would lack subject-matter

jurisdiction over Wood’s claims because any case challenging the action

or inaction of the State Bar or any person in connection with a

disciplinary proceeding can be brought only before the Supreme Court

of Georgia. Arroyo v. Colbert, No. 1:18-cv-848-SCJ, 2018 WL 10510870,

at *2 (N.D. Ga. Mar. 29, 2018). Wood’s claims are subject to dismissal

for this additional reason.

IV.   Conclusion

      For the foregoing reasons, Defendants’ motion [34] to dismiss is

granted. Wood’s motion [27] for a preliminary injunction is denied as

moot; the motion [54] to stay is also moot. The Clerk is directed to close

this case.

      IT IS SO ORDERED this 9th day of June, 2021.



                                  ____________________________________
                                  Timothy C. Batten, Sr.
                                  Chief United States District Judge

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